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                        IN THE U.S. DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

U.S. OF AMERICA, the                     )
STATE OF TEXAS, the STATE OF COLORADO, )
the STATE OF INDIANA, the STATE OF IOWA, )
the STATE OF MINNESOTA, the STATE OF     )
NEW MEXICO, the STATE OF TENNESSEE,      )
the STATE OF WASHINGTON, ex rel. HICHEM )       Civil Action No. 4:18-cv-00123
CHIHI,                                   )
                                         )
                  Plaintiff-Relator,     )
                                         )
           v.                            )
                                         )
CATHOLIC HEALTH INITIATIVES, et al.      )
                                         )
                  Defendants.            )




                  THE CHI DEFENDANTS’ MOTION TO DISMISS
                  RELATOR’S SECOND AMENDED COMPLAINT




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         Defendants Catholic Health Initiatives (“CHI”) and CHI-St. Luke’s Health (“CHI-

St. Luke’s”) (collectively, the “CHI Defendants”) hereby move to dismiss Relator

Hichem Chihi’s (“Relator”) Second Amended Complaint (“SAC”) in the above-captioned

action pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b). The SAC should be

dismissed with prejudice under Rule 12(b)(6) because it fails to state a claim upon which

relief may be granted and because it fails to plead fraud with particularity under Rule 9(b).

             STATEMENT OF FACTS AND SUMMARY OF ARGUMENT

         Relator worked as a patient representative in the International Services Department

(“ISD”) at Baylor St. Luke’s Medical Center (“BSLMC”) for roughly eight years, where

he and a group of multilingual professionals managed and coordinated the medical services

and related needs for international patients. In an effort to collect an undue bounty, Relator

has filed the current lawsuit, falsely alleging that the Defendants devised a scheme to use

international patients and related support services as remuneration to induce Medicare

referrals from various group practices and individual physicians (the “Defendant

Physicians”) throughout the Houston area. Relator alleges that this scheme violated the

Anti-Kickback Statute (“AKS”) the Stark Law and – by extension – the False Claim Act

(“FCA”) and the Texas Medicaid Fraud Prevention Act (“TMFPA”). As set forth below,

the alleged scheme – premised on a dangerous combination of conjecture, innuendo, and

imprecision – crumbles under the weight of Rules 12(b)(6) and 9(b).

         As an initial matter, Relator obfuscates the distinct roles played by CHI St. Luke’s,

CHI, and BSLMC in the alleged scheme. Though Relator alleges the scheme was

perpetrated at BSLMC to induce referrals back to BSLMC, BSLMC is not named as a


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defendant in this case. Instead, Relator endeavors to impute liability to BSLMC’s part

owner, CHI St. Luke’s, and its corporate parent, CHI. However, the SAC lacks the type of

allegations that are necessary to hold the CHI Defendants accountable for the acts of a

partly-owned subsidiary that allegedly occurred at BSLMC, and they should be dismissed

for this reason alone.

             Relator’s inability to allege a plausible kickback scheme also extends to the

physicians who were on the receiving end of the purported remuneration. The list of

Defendant Physicians, like the SAC’s allegations, has been a moving target and since

Relator’s action was initially filed, the forty-four defendants named in the original

complaint has wandered down to a field of thirty-six. This is based on Relator quietly

dismissing eight defendants who either never referred patients to BLSMC or were not even

in a position to refer in the first place.

         Relator also fails to state a claim under the AKS because the SAC does not establish

that the CHI Defendants “knowingly and willfully” provided illicit remuneration with the

intent to induce referrals. To the contrary, the SAC reveals that the ISD’s referral decisions

and patient support apparatus were entirely consistent with lawful behavior and furthered

the ISD’s mission to provide exceptional patient services to its international clientele.

Relator’s AKS claims also fail to satisfy Rule 9(b), as the SAC does not provide the

particular details of an actual false claim, or outline the specifics of an unlawful kickback

scheme by tying the purported remuneration to the inducement of referrals.

         Relator’s Stark-based claims fail for similar reasons, and because the SAC does not

establish even the most basic elements of a violation, including that the CHI Defendants

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had an actual financial relationship with a specific physician, or that any physicians made

referrals for Designated Health Services (“DHS”) to the CHI Defendants. Finally, Relator’s

remaining allegations regarding a reverse false claim, an FCA conspiracy, and various

TMFPA violations should be dismissed because they are entirely derivative of his failed

AKS and Stark-based claims and premised on a mechanical recitation of their applicable

elements rather than well-pled factual allegations.

         This is now Relator’s third attempt to present a cognizable FCA claim, but rather

than using his multiple amendments to cure the complaint’s pervasive pleading

deficiencies, he has merely reorganized his allegations, summarized the same exhibits that

were attached to the original pleading – many of which relate to defendants who have been

dismissed from this action – and even removed several allegations that contradict his

assertions of fraud. Relator’s failure to state a claim with particularity this late in the game,

after the defendants have expended extraordinary time and resources defending against this

action, is simply inexcusable. Relator previously induced nearly forty defendants to file

thirteen motions to dismiss the prior iteration of his complaint, only to use the briefs to

(unsuccessfully) address his many pleading deficiencies. Even with a detailed roadmap

identifying his action’s shortcomings, Relator’s SAC still fails to pass muster under Rules

12(b)(6) and 9(b).

         This is not a situation where the SAC’s defects can be cured by further amendment

or additional discovery. In fact, after the Court ordered limited discovery with respect to

just seven paragraphs from the SAC – which should never have been included to begin

with – Relator voluntarily withdrew the allegations from his pleading. The limited

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discovery process, while costly and time-consuming, provides a snapshot of what future

litigation would look like in this matter, and the CHI Defendants are confident that the

SAC’s remaining allegations would suffer the same fate as the withdrawn paragraphs. For

these reasons, and those expressed in greater detail below, the CHI Defendants respectfully

request that this Court dismiss the SAC with prejudice.

                    NATURE AND STAGE OF THE PROCEEDING

         On January 12, 2018, Relator filed this action on behalf of the United States and

eight states, including Texas. Dkt. 1. After investigating Relator’s claims, the government

declined to intervene in this case, leaving Relator to pursue it on his own. Dkt. 3. After

filing his First Amended Complaint on October 9, 2019, Relator filed the SAC on

December 4, 2019, dropping his unjust enrichment claim and all state law claims except

those brought under the TMFPA. The SAC once again alleges that “the Hospital

Defendants [provided] illegal kickbacks to the Referring Physicians to induce Medicare

and Medicaid referrals” in violation of the AKS and Stark Law. See e.g., Dkt. 273 ¶ 307.

Relator further alleges that by violating the AKS and Stark Law, the CHI Defendants also

violated the FCA by: (i) knowingly presenting or causing to be presented false claims for

payment (Count I, ¶¶ 303–308), (ii) making or causing to be made false records or

statements material to false claims (Count II, ¶¶ 309–313), (iii) making or causing to be

made false records or statements material to an obligation to pay money to the government

and knowingly concealing or avoiding that obligation (Count III, ¶¶ 314–320), and (iv)

conspiring to violate the FCA (Count IV, ¶¶ 321–324). Relator also brings five counts

under the TMFPA (Counts V-IX, ¶¶ 325-348) which are based upon the same conduct as

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the FCA claims. The CHI Defendants now move to dismiss the SAC pursuant to Federal

Rules of Civil Procedure 12(b)(6) and 9(b).

                ISSUES REQUIRING RESOLUTION BY THE COURT

         (1)   Whether Relator’s FCA claims (Counts I-IV) should be dismissed with

prejudice for failure to state a claim under Rule 12(b)(6) or to plead fraud with particularity

as required by Rule 9(b).

         (2)   Whether Relator’s TMFPA claims (Counts V-IX) should be dismissed.

         (3)   Whether the Court should decline to exercise supplemental jurisdiction over

Relator’s TMFPA claims in the event it dismisses Relator’s FCA claim.

                                  LEGAL STANDARDS

         A.    Rule 12(b)(6)

         To survive a Rule 12(b)(6) challenge, Relator must plead enough facts to state a

claim for relief that is plausible on its face. Fed. R. Civ. P. 12(b)(6); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). The plausibility standard demands more than “a

formulaic recitation of the elements of a cause of action,” or “naked assertions devoid of

further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Relator’s

allegations must demonstrate more than a sheer possibility that Defendants acted

unlawfully and contain “more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id.

         B.    Rule 9(b)

         The SAC must also meet the heightened pleading standard of Rule 9(b). U.S. ex rel.

Grubbs v. Kanneganti, 565 F.3d 180, 185 n.8 (5th Cir. 2009). Rule 9(b) states that “a party

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must state with particularity the circumstances constituting fraud” and “requires, at a

minimum, that a plaintiff set forth the ‘who, what, when, where, and how’ of the alleged

fraud.” U.S. ex rel. Shupe v. Cisco Sys., Inc., 759 F.3d 379, 382 (5th Cir. 2014).

                              STATUTORY FRAMEWORK

         The FCA authorizes actions by the United States or by a relator in a qui tam capacity

on the Government’s behalf. 31 U.S.C. § 3730 et seq. (2012). The FCA imposes civil

penalties and damages on any person who (i) “knowingly presents, or causes to be

presented, a false or fraudulent claim for payment or approval” to the Government”; (ii)

“knowingly makes, uses, or causes to be made or used, a false record or statement material

to a false or fraudulent claim”; (iii) “knowingly makes, uses, or causes to be made or used,

a false record or statement material to an obligation to pay . . . or knowingly conceals or

knowingly and improperly avoids or decreases an obligation to pay or transmit money or

property to the Government”; and (iv) “conspires to commit a violation of [the FCA].” Id.

§§ 3729(a)(1)(A)–(C), (G).

         The Fifth Circuit has summarized the FCA inquiry as follows: “(1) whether there

was a false statement or fraudulent course of conduct; (2) made or carried out with the

requisite scienter; (3) that was material; and (4) that caused the government to pay out

money or to forfeit moneys due (i.e., that involved a claim).” U.S. ex rel. Harman v. Trinity

Industries, Inc., 872 F.3d 645, 653–54 (5th Cir. 2017).

         In the healthcare context, two laws that often serve as FCA predicates are the AKS

and Stark. The AKS provides criminal penalties for:



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         [K]nowingly and willfully offer[ing] or pay[ing] any remuneration
         (including any kickback, bribe, or rebate) directly or indirectly, overtly or
         covertly, in cash or in kind to any person to induce such person ... to refer an
         individual to a person for the furnishing ... of any item or service for which
         payment may be made in whole or in part under a federal health care
         program.

42 U.S.C. §§ 1320a–7b(b)(2) (2012). Stark prohibits physicians from referring Medicare

patients to an entity for certain “designated health services” if the referring physician has

a nonexempt “financial relationship” with such entity. 42 U.S.C. §§ 1395nn(a)(1), (h)(6).

                                         ARGUMENT

II.      RELATOR FAILS            TO     STATE A         CLAIM AGAINST              THE     CHI
         DEFENDANTS

         After more than two years and several failed attempts, Relator still fails to allege a

kickback scheme that was intended to induce referrals from the Defendant Physicians to

BSLMC. CHI St. Luke’s is a non-profit Catholic health system in Texas, comprised of

sixteen hospitals, eight emergency centers, medical group locations, and numerous other

facilities. Dkt. 5 ¶ 19; Dkt. 273 ¶ 17. CHI St. Luke’s is a subsidiary of CHI, a national

health system comprised of more than 100 hospitals and 3,900 providers across seventeen

states. Id. ¶ 15. In light of the sprawling nature of these systems, it is perplexing that Relator

continues to lump them together as the “Hospital Defendants,” as neither institution is a

hospital.

         The only hospital at issue in this matter is BSLMC, which houses the ISD and was

the alleged recipient of wrongfully-induced referrals. However, BSLMC – which is a

distinct legal entity from CHI St. Luke’s and was not named as a defendant – is not alleged

to be a part of CHI. Instead, the SAC makes clear that BSLMC is jointly owned by Baylor

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College of Medicine (“BCM”) and CHI St. Luke’s. Id. ¶ 39. Although the purported

scheme was allegedly perpetrated by the ISD at BSLMC – and not any other hospital –

Relator still tries to pin liability on BSLMC’s partial owner and its corporate parent.

         The SAC does not supply the type of allegations that are necessary to pierce the

corporate veil and hold the CHI Defendants liable for the alleged scheme, however. At

most, Relator alleges that the ISD and its managers, Tania Matar (“Matar”) and Angie

Sanchez (“Sanchez”), wrote emails and issued checks, employee evaluation forms, and

various policies and/or other documents using the CHI Defendants’ logos and letterhead.

Id. ¶ 20. Relator also alleges that CHI St. Luke’s website promotes the ISD and that Matar,

Sanchez and another former ISD manager met regularly with the president of BSLMC (but

not officers or directors from either of the CHI Defendants) to discuss various matters. Id.

¶¶ 20, 153.

         Relator’s allegations – which ostensibly “[provide] the basis for liability against

each of the Hospital Defendants” (Dkt. 191 at 12) – are insufficient to hold BSLMC’s

partial owner and its corporate parent liable for the conduct alleged in the SAC. United

States v. Bestfoods, 524 U.S. 51, 61 (1968) (“absent an independent basis to impose

liability, a parent corporation is generally not liable for the acts of [even] its wholly owned

subsidiary.”). Relator has not established an independent basis to hold the CHI Defendants

accountable for the ISD’s purported conduct at BSLMC, and they should therefore be

dismissed from this case pursuant to Rule 12(b)(6). See Wady v. Provident Life and

Accident Ins. Co. of Am., 216 F. Supp.2d 1060, 1068 (C.D. Cal. 2002) (the use of the parent

corporation’s letterhead by the subsidiary a does not establish an alter ego

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relationship);U.S. ex rel. Tillson v. Lockheed Martin Corp., 2004 WL 2403114, *33 at *107

(W.D. Ky. 2004) (merely “[b]eing a parent corporation of a subsidiary that commits a FCA

violation, without some degree of participation by the parent in the claims process, is not

enough to support a claim against the parent for the subsidiary's FCA violation.”); U.S. ex

rel. Hockett v. Columbia/HCA Healthcare Corp., 498 F. Supp. 2d 25, 59–60 (D.D.C. 2007)

(a relator must demonstrate either that [defendant] is liable under a veil piercing or alter

ego theory, or that it is directly liable for its own role in the submission of false claims).

III.     RELATOR’S AKS AND STARK CLAIMS SHOULD BE DISMISSED

         Each of Relator’s claims in the SAC is premised on alleged violations of the AKS

and Stark. Because the SAC fails to sufficiently: (1) plead a violation of the AKS, (2) plead

a violation of Stark, (3) allege the submission of a false claim or provide reliable indicia

that a false claim was submitted, (4) allege facts in support of a FCA conspiracy claim, or

(5) adequately allege a reverse false claims theory, Counts I through IV should be

dismissed.

         A.    Relator Fails to Plead an AKS Violation

         To assert a viable AKS claim, Relator must plausibly allege that the CHI Defendants

“knowingly and willfully offer[ed] or pa[id] any remuneration . . . to any person to induce

such person to refer an individual to a person for the furnishing . . . of any item or service”

paid by a federal health care program. 42 U.S.C. § 1320a–7b(b)(2).

         Relator’s AKS claims fail for two reasons: first, the SAC fails to plausibly allege

that the CHI Defendants paid prohibited remuneration “willfully” with the intent to induce

referrals. Second, Relator fails to plausibly allege the particular details of an actually

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submitted false claim or the specifics of the purported kickback scheme paired with reliable

indicia that a false claim was submitted as required to satisfy Rule9(b)’s heightened

pleading requirements.

               1.     The SAC Fails to Allege Knowing and Willful Conduct and the Intent
                      to Induce Referrals.

         Relator’s AKS-based claims are plagued by insurmountable pleading deficiencies,

including the failure to plausibly allege that the CHI Defendants knowingly and willfully

used international patient referrals, interpreters, and patient support services as forms of

prohibited remuneration to induce referrals from the Physician Defendants. See U.S. v.

Davis, 132 F.3d 1092, 1094 (5th Cir. 1998) (“willfully” means “that the act was committed

voluntarily and purposely with the specific intent to do something the law forbids; that is

to say, with bad purpose either to disobey or disregard the law.”); see also, U.S. ex rel.

Parikh v. Citizens Med. Ctr., 977 F.Supp.2d 654, 665 (S.D. Tex. 2013) (“the AKS

inducement element [is] an intent requirement”).

         As the Court noted on December 4, 2019, a recent decision in the Southern District

of Texas – U.S. ex rel. Patel v. Catholic Health Initiatives, 312 F. Supp. 3d 584, 599 (S.D.

Tex. 2018), aff'd sub nom. U.S. ex rel. Patel v. Catholic Health Initiatives, 792 F. App'x

296 (5th Cir. 2019) – bears on this case, particularly as it relates to the Court’s analysis of

whether Relator has plausibly alleged that the CHI Defendants acted “willfully” with the

intent to induce referrals. Dkt. 300 at 33, lines 20-23.

         In Patel, two physicians who held partnership interests in the St. Luke’s Sugarland

Hospital (“Sugarland”), sued CHI St. Luke’s – which controlled Sugarland – and others


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under the FCA based on alleged violations of the AKS and the Stark Law. Patel, 312 F.

Supp. 3d 584. Sugarland was originally structured with individual doctors, including the

relators, as partners. Id. When a provision of the Patient Protection and Affordable Care

Act (“PPACA”) prevented Sugarland from expanding while preserving physician

ownership, CHI St. Luke’s made offers to rescind the relators’ (and other physicians’)

partnership interests pursuant to the Texas Securities Act (“TSA”).

         The relators alleged that the defendants’ use of the TSA to rescind the physicians’

ownership interest in Sugarland was pre-textual and that the true purpose of the rescission

payments to the physician investors (which relators claimed were in excess of fair market

value for the physicians’ ownership shares and therefore were kickbacks) was not to

compensate them for their underperforming ownership interests and ward off potential

litigation, but to induce referrals in violation of the AKS, Stark Law, and FCA. Id.

         In a well-reasoned opinion that the Fifth Circuit called “lengthy and thorough,” the

District Court dismissed the relators’ claims with prejudice. U.S. ex rel. Patel v. Catholic

Health Initiatives, 792 F. App'x 296, 297 (5th Cir. 2019). The rationale offered by the Court

in Patel to support dismissal of relators’ AKS claims is applicable here, particularly

concerning the Court’s holding that the defendants did not act “willfully” with the intent

to induce referrals because their conduct was “at least as consistent with law-abiding

behavior as it [was] with intentional scheming to skirt the law.” Patel, 312 F. Supp. 3d at

596. Like the rescission payments at issue in Patel, the CHI Defendants’ conduct was

consistent with law-abiding intent and an alternative narrative that is buttressed by logic,

common sense, and Relator’s own allegations and exhibits.

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         Below, the CHI Defendants address Relator’s failure to plausibly allege a kickback

scheme where the CHI Defendants acted willfully with the intent to induce referrals by

analyzing each form of remuneration at issue in this case, including: “[1] referrals of full-

paying international patients; [2] complimentary interpreter services; [3] complimentary

administrative assistance in the form of scheduling, billing, and collection services; and [4]

free international travel-related perks” and demonstrating why they do not support

Relator’s theory of AKS liability. Dkt. 273, ¶ 3.

                       a.     International Patient Referrals

         Relator alleges that the CHI Defendants “recruit wealthy international patients

through the [ISD] at Baylor St. Luke’s Medical Center . . . [and] in many cases, the

international patients themselves are used as a form of kickbacks to induce Medicare and

Medicaid patient referrals.” Id. ¶¶ 143, 145. This allegation relies on an inference that the

ISD made referral decisions that were colored by an intent to curry favor with the

Defendant Physicians and induce referrals to BSLMC. But this critical inference is

implausible because the SAC reveals a far more plausible explanation that is entirely

consistent with law-abiding intent – namely, that referral decisions were informed by a

variety of factors that had nothing to do with an intent to induce referrals to BSLMC,

including the patient’s insurance, the physician’s availability and track record for

accommodating international patients, and patient satisfaction.

         An email attached to the SAC as Exhibit 3 perfectly illustrates the lawful, business-

minded considerations that fueled referral decisions in the ISD.        Relator points to the

exhibit as an example of a situation where “senior ISD staff, including [Matar] and

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[Sanchez] . . . instructed ISD staff to refer as many international patients to ‘preferred’

practitioners, even going so far as attempting to thwart the referral of international patients

to other doctors not on the ‘preferred’ list regardless of the circumstances or medical

necessity.” Dkt. 273, ¶ 157. However, Relator’s allegations, which grossly mischaracterize

Exhibit 3, are directly contradicted by the contemporaneous communications in the exhibit

itself and should be disregarded by the Court as it considers the current motion. See U.S.

ex rel. Riley v. St. Luke's Episcopal Hosp., 355 F.3d 370, 377 (5th Cir. 2004) (when “an

allegation is contradicted by the contents of an exhibit attached to the pleading, then indeed

the exhibit and not the allegation controls.”). Given the importance of Exhibit 3, the CHI

Defendants provide the full content below, followed by an accurate analysis of its meaning.

         On October 13, 2016 at 9:58 a.m., Dr. Eldin Nihad, Medical Advisor from the

Consulate of the United Arab Emirates, emailed Relator saying:

             Dear Hicham,

             Kindly schedule _______________ for urgent IM appointment
             (Today if possible) for cough, fever mild dyspnea and family history of
             Asthma.

             She is covered by United heath care international

             D.O.B: 11/20/1980

             Regards,

             Nihad Eldin, MD

         On October 13, 2016 at 10:14 a.m., Relator responds to Dr. Nihad, copying Sanchez,

Matar and others as follows:

             Hello Dr. Nihad,

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             I am working on it. I will let you know as soon as confirmed.

             Regards,

             Hesham Chihi

         Shortly thereafter, at 10:23 am, Relator sends the following update to Dr. Nihad,

once again copying Sanchez, Matar and others:

             12:30pm today at 6624 Fannin, suite 1240. The patient has been
             scheduled to see Dr. Stasicha. Please provide us with the UHC
             information.

             Regards,

             Hesham Chihi

         A few minutes later, Matar sends the following directly to Relator:

             Hichem

             We have experienced many problems with this office (cancelling,
             changing last minute etc..) and they don't seem to accommodate our
             patients. Unless things have changed, I would like to use Dr Hoffman
             who pamper the international patients and is willing to go the extra
             mile for them.

             Tania

         Relator responds to Matar at 10:56 am as follows:

             Tania,

             We always reach out to Dr. Hoffman for these requests, in this case
             the patient has UHC insurance, unfortunately Dr. Hoffman doesn't
             accept it. My only available option to accommodate he, the same day,
             was our IM department.

             Regards,

             Hesham Chihi

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         Just six minutes later, Matar concludes the exchange with the following remarks:

             Hichem

             Thank you for the clarification. Let me know if the patient was
             satisfied with the visit. If we continue having problem with them we
             might need to find an alternative who accept UHC.

             Tania

         See Dkt. 273, Exh. 3.

         Exhibit 3 reveals that when Relator notified Matar he had scheduled an appointment

with Dr. Stasicha, Matar did not attempt to “pressure Relator into referring the patient to

Hoffman” (Dkt. 273, ¶ 158), but instead raised legitimate points regarding Dr. Stasicha’s

history of failing to accommodate ISD patients, including canceling or changing

appointments at the last minute – which would be particularly problematic for foreign

patients in the country for only a short time – and failing to go the extra mile for patients.

See id., Exh. 3. The email exchange does not support Relator’s allegation that Matar or

others made referral decisions “regardless of the circumstances or medical necessity.” Dkt.

273, ¶ 157. To the contrary, the email establishes that Matar was acutely attuned to the

circumstances, including the need to ensure patient satisfaction. Id., Exh. 3.

         Finally, rather than “attempt[ing] to thwart the referral of international patients to

other doctors,” the email reveals that Matar was deferential to Relator and willing to

consider whether he believed “things [had] changed” with respect to Dr. Stasicha’s history

of failing to accommodate ISD patients. Id. Notably, Relator did not disagree with Matar’s

concerns regarding Dr. Stasicha or respond to her request to let her know if “things [had]


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changed.” Id. Instead, Relator informed Matar that Dr. Hoffman did not accept the patient’s

insurance. Tellingly, Matar did not pull another name out of the alleged “preferred

provider” hat and instead thanked Relator for his clarification regarding the insurance issue,

asked Relator to inform her if the patient was satisfied, and stated that ISD “might need to

find an alternative who accept[s] [the patient’s insurance],” but only if ISD “continue[d]

having problem[s] with [Stasicha].” Id., Exh. 3.

         None of what Exhibit 3 actually says, or that could be reasonably inferred from its

contents, shows that the CHI Defendants considered or sought to induce Medicare referrals

to BSLMC when deciding which physicians should care for international patients.

         Relator also attempts to plead into existence an illusory difference between

“independent medical practices” and “physicians hired by CHI St. Luke’s,” alleging that

the CHI Defendants “knowingly and willfully refer these valuable international patients to

the Referring Physicians rather than their own hired in-house physicians to induce the

referring physicians to refer their Medicare and Medicaid patients to BSLMC.” Dkt. 273,

¶ 194. Not only is this allegation implausible, it is completely detached from reality. To be

clear, Relator has not (and cannot) articulate an actual distinction between “independent”

physicians (who apparently should not have received ISD referrals) and BSLMC’s “own

hired in-house physicians” (who apparently should have received referrals) because neither

CHI St. Luke’s nor BSLMC can employ physicians in Texas.

         As the Fifth Circuit has explained, “[i]n Texas . . .physicians are not employees of

hospitals or similar facilities because the corporate practice of medicine is prohibited, with

limited exceptions.” Gaalla v. Citizens Med. Ctr., No. CIV.A. V-10-14, 2010 WL 5387603,

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at *3 (S.D. Tex. Dec. 17, 2010) (citing Bodin v. Vagshenian, 462 F.3d 481, 495 (5th Cir.

2006)). Rather, “[p]hysicians attend patients as independent contractors or obtain

privileges to practice at a hospital.” Id. Relator’s central thesis, that the CHI Defendants

violated the AKS by referring patients to private physicians instead of employed physicians

as an unlawful inducement, is completely false and fails as a matter of law.

         Relator attempts to point to several examples of the false distinction between

“independent” and “in-house” physicians, saying that referrals to Dr. Hoffman should have

gone to Dr. Stasicha, and referrals to Dr. Santacruz should have gone to Dr. Solis. Dkt.

273, ¶¶ 158, 198. But Relator does not articulate an actual difference between Hoffman

and Stasicha, or Santacruz and Solis with respect to their affiliation (or lack thereof) with

BSLMC. In fact, all four physicians are on the hospital’s medical staff and have admitting

privileges at BSLMC.

         The Court need not look any further than Relator’s ill-fated attempt to cast BCM as

an “independent” or unaffiliated Referring Physician to understand the illusory and

implausible nature of his allegations. Relator contends that “BCM is also part owner of

[BSLMC].” Dkt. 273. ¶ 39. Yet, in the same pleading, he inexplicably casts BCM among

the “independent medical practices” to which ISD should not have referred. Id., ¶ 191. The

CHI Defendants cannot imagine a group of physicians who could be any less

“independent” or “unaffiliated” than those practicing in an entity like BCM, which owns a

part of BSLMC and relies on BSLMC as the primary practice site for its residency and

fellowship programs. The absurdity of Relator’s logic should be clear on its face, and his



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decision to draw a line between “independent medical practices” and characterize BCM as

an outside Referring Physician reveals the falsity of his allegations.

         For these reasons, ISD’s referral decisions are legitimate, and Relator’s allegations

regarding international patient referrals fail to plausibly establish that the CHI Defendants

provided prohibited remuneration “willfully” to induce referrals.

                       b.     Interpreter Services

         Relator also alleges that “[e]ach time the [CHI Defendants] provided [a]

complimentary interpreter through the ISD, they knowingly and willfully provided an

illegal kickback to ingratiate themselves with the Referring Physicians and induce

Medicare/Medicaid referrals in return. Dkt. 273, ¶ 203. Relator alleges that the interpreters

were remunerative and provided something of value because they allowed physicians to:

(1) render and seek reimbursement for medical care (Id. ¶ 206); (2) provide patients with

appropriate informed consent (Id. ¶ 207); (3) make proper diagnoses and treatment

decisions (Id.); (4) comply with Federal laws purportedly requiring physicians to provide

interpreters (Id. ¶ 208); and (5) avoid damage to their reputation and bill payment refusal

(Id. ¶ 209). Relator presents these allegations only in general and theoretical terms and does

not provide specific examples of cases where a Referring Physician was able to avoid

liability or non-compliance with a legal obligation by using a “complimentary interpreter”

furnished directly by the CHI Defendants.

         Relator also takes liberties with respect to his characterization of certain Federal

statutes, positing that Title VI of the Civil Rights Act of 1964 (“CRA”), the Americans

with Disabilities Act (“ADA”), and Section 1557 of PPACA “require that providers who

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receive federal funds, including from the Medicare and Medicaid programs, must provide

oral interpreters to patients with limited English proficiency.” Dkt. 273 ¶ 208. Relator fails

to provide a single detail or even cite specific statutory language to support this claim.

         It is difficult to comprehend how Relator can allege that the ADA – which, by its

name, applies to Americans and not wealthy international patients – would require

physicians in the U.S. to provide oral interpreters to foreign nationals. To be clear, the

ADA does not include Limited English Proficiency (“LEP”) within its definition of

“disability.” 42 U.S.C.A. § 12102.

         Relator also provides absolutely no support for his contention that the CRA and

PPACA would require U.S. physicians and medical practices to pay out of pocket to supply

language interpreters to wealthy, non-U.S. citizen patients who come to the country for a

short time to avail themselves of the American health care system. This proposition goes

beyond what the statutes or their legislative histories contemplate and would effectively

mean that U.S. physicians must provide free services to wealthy foreign nationals merely

because they happen to treat unrelated Medicare beneficiaries. This defies conventional

wisdom and need not be accepted as true by the Court. Iqbal, 556 U.S. at 578 (the Court

“is not bound to accept as true [naked assertions or] legal conclusions couched as factual

allegations.”).

         Relator’s own representative examples regarding the CHI Defendants’ alleged

provision of interpreters further undermine the services’ purported value to the Defendant

Physicians. For example, Relator alleges that ISD staff was instructed to schedule

interpreters for international patients even when the physician or her staff spoke the same

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language as the patient. Dkt. 273 ¶ 204 (alleging that ISD sent “Arabic-speaking

interpreters for international patients referred to referring physician even if the physician

or one of his staff members speak Arabic”). It is not clear, nor does Relator allege, what

benefit an Arabic-speaking interpreter would be to physician if she or her staff already

speaks Arabic and can communicate with the patient. See e.g., Jones-McNamara v. Holzer

Health Sys., 630 Fed. App’x 394, 401 (6th Cir. 2015) (holding that items of little or no

value to the referral source cannot reasonably constitute remuneration under the AKS);

U.S. ex rel. Ruscher v. Omnicare, Inc., No. 4:08-CV-3396, 2014 WL 2618158, at *10 (S.D.

Tex. June 12, 2014) (holding that to satisfy the first element of the AKS, a plaintiff “must

sketch out [among other things] . . . how Defendant benefitted from the remuneration.”).

         Even assuming complimentary interpreters had value and were required by law,

Relator’s allegations fail because the SAC does not plausibly establish that interpreters

were provided by the ISD “willfully” to induce referrals. To the contrary, the SAC makes

clear that the ISD marketed “a long list of services provided to international patients and

their families by ISD at BSLMC, including . . . providing interpreters for patients.” Dkt.

273 ¶ 143 (emphasis added). These services were “part of [ISD’s] recruitment process,”

which the SAC seems to acknowledge was geared toward the patients and not physicians.

         In other words, Relator conflates the intrinsic value of the interpreter services with

the party to whom that value is being offered or provided. Aside from Relator’s conjecture

regarding the ISD’s purportedly pre-textual motives, the SAC lacks well-pled allegations

negating the more plausible explanation that ISD provided interpretation services for the



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benefit of the patients as part of their efforts to recruit them to the U.S. and ensure a positive

experience once they arrive.

         Notably too, Relator offers no allegations that the Defendant Physicians asked for

or demanded these services, which would have signaled the physicians’ knowledge of an

obligation to provide them to ISD patients or their view that the interpreters were in fact

seen as an item of value by the Defendant Physicians. This is a theme that pervades the

entire SAC; Relator fails to establish that the interpreters – or any of the other purported

remuneration – were actually viewed by the Defendant Physicians as something of value

capable of inducing Medicare or Medicaid referrals.

         Finally, Relator clearly alleges that interpreters were provided for all ISD patients

when they obtained care outside of BSLMC, regardless of whether the ISD patients saw

doctors on the purported “preferred physician” list or not. Dkt. 273 ¶ 204; Exhibit 4. The

CHI Defendants’ consistency concerning the provision of interpreters erodes Relator’s

theory that they were targeted to a select group of physicians and bolsters the CHI

Defendants’ alternative explanation for this business practice. See Patel, 312 F. Supp. 3d

at 596 (“the use of rescission negates the inference that payments were meant to induce

referrals, because . . . all physicians were compensated at the same rate regardless of their

referral volume.”).

         For these reasons, Relator fails to allege that the CHI Defendants provided

interpreters “willfully” with the intent to induce referrals.

                       c.     Patient Support and Administrative Services



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         Relator also alleges that the CHI Defendants violated the AKS by providing

physicians with free “administrative assistance in the form of scheduling services, billing,

and collection services.” Dkt. 273 ¶ 226. Relator alleges that the administrative services

provided Defendant Physicians with significant value because they allowed the doctors to

avoid “compensate[ing] their own administrative staff to provide the services, which were

costly and time-consuming to provide.” Id. ¶ 239.

         Relator provides no factual support for these conclusory assertions and there are no

allegations, for example, regarding the actual cost and time that Defendant Physicians were

spared. A review of Relator’s exhibits and allegations divulge the implausibility of these

assertions. In Exhibit 6, Relator includes a handful of emails sent to ISD staff from Carlos

Aguilar attaching lists of international patient appointments and reminding ISD staff to

provide appointment reminders to the patients. Relator asserts that by providing these

reminders to the ISD patients, physicians did not have to compensate their own

administrative staff. However, even for one of ISD’s “preferred providers,” Dr. Alan

Hoffman, the maximum number of appointment reminders provided on any one day was

only six. The printouts for the remaining seven days included as examples in Exhibit 6

reveal zero additional appointments for Dr. Hoffman, implying that the ISD did not provide

appointment reminders on those days. Based on Relator’s own allegations and exhibits, it

is unreasonable and implausible to suggest that Dr. Hoffman or other physicians could

forego employing or compensating their own administrative staffs simply because ISD

made a handful of phone calls to a few international patients.



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         Additional exhibits to the SAC further undermine the plausibility of Relator’s

allegations regarding the ISD’s provision of free billing and collection services. Exhibit 2

and 11 purportedly show that the CHI Defendants provided billing and collection services

on behalf of numerous physicians and practices, many of which are not defendants in this

case, including Singleton Associates, Greater Houston Anesthesiology, MH Radiation

Oncology, Medical Center ER Physicians, Apnix, and Dr. Cesar Gregorio. These

physicians and practices are not (or are no longer) included as Referring Physicians

presumably because they either did not make any referrals to BSLMC or are not the types

of practices that refer patients at all. Greater Houston Anesthesiology, for example,

includes anesthesiologists who generally do not refer patients to other providers. See, e.g,

United States v. Rogan, No. 02 C 3310, 2006 WL 8427270, at *5 (N.D. Ill. Oct. 2, 2006),

aff'd, 517 F.3d 449 (7th Cir. 2008) (“Anesthesiologists do not usually refer patients to

hospitals.”).

         Exhibits 2 and 11 therefore establish that the ISD provided collection services for

the benefit of the international patients and their embassies, regardless of whether the

treating physician or practice was a Defendant Physician or even capable of referring

patients to BSLMC. This renders implausible Relator’s allegation that the CHI Defendants

offered complimentary billing and collection services “willfully” to induce referrals. Patel,

312 F. Supp. 3d at 596.

         Finally, as with the alleged free interpreters, the CHI Defendants’ provision of

complimentary billing and collection services are completely consistent with an alternate

narrative of law-abiding behavior. As Exhibit 1 makes clear, there was a written policy

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acknowledging agreements with certain Embassies requiring the submission of

consolidated bills for the hospital and physicians. Dkt. 273, Exhibit 1. Similarly, some of

the Embassies paid for all care with a consolidated check thereby requiring the ISD to

collect the amounts owed to the physicians and remit payment. Id. Relator fails to explain

why compliance with the process put in place by Embassies leads to the provision of illegal

remuneration to the Defendant Physicians. Rather than being a calculated decision made

by the CHI Defendants to provide remuneration to physicians, BSLMC’s management of

the billing process for international patients shows no more than a desire to comply with

the Embassies’ specifications and to get paid for the services it provided. Relator therefore

fails to plausibly allege that the CHI Defendants provided administrative services to

international patients “willfully” to induce referrals.

                      d.     International Travel-Related Expenses

         Realtor also alleges without particularly that the CHI Defendants “provided all-

expense paid international trips organized by the ISD to those referring physicians

responsible for the largest number of Medicare and Medicaid referrals to BSLMC . . .

[including] stays at expensive 5-star hotels, as well as tickets to local events or shows.”

Dkt. 273 ¶¶ 259, 261. Relator alleges that the CHI Defendants “provided this illegal

remuneration through the ISD knowingly and willfully . . . and at least in part to induce

Medicare and Medicaid referrals. Id. ¶ 264.

         Relator’s conclusory allegations lack basic information necessary to state a

plausible claim for relief under Rule 12(b)(6), much less the heightened particularity

required under Rule 9(b). Even Relator’s representative examples lack any level of detail

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and plausibility. Relator alleges, for example, that Dr. Joseph Lamelas traveled to Lima,

Peru in 2017 on a “lavish trip,” but Relator does not allege anything about the trip itself,

such as hotel where Dr. Lamelas stayed, the names of individuals who accompanied him,

the purpose of the trip, or the events in which he partook. Dkt. 273 ¶ 263. Relator also

alleges that the ISD paid for trips for Drs. Hoffman, Krajcer, and Coselli, but does not

allege where they went, when the trip occurred, where they stayed, or what events they

enjoyed. Id. ¶ 262.

         Relator’s allegations, which are pled “on information and belief” are once again

explained by a more plausible narrative, namely that the ISD relied on physicians on staff

at BSLMC – like those listed in Paragraph 262 of the SAC – to help recruit international

patients abroad. Surely, physicians like Dr. Lamelas – who was born in Cuba, studied

medicine in the Dominican Republic, and speaks fluent Spanish – would be a good

candidate to recruit patients in Peru and extoll the virtues of BSLMC, where he performed

cardiothoracic surgeries. U.S. ex rel. Willard v. Humana Health Plan of Texas Inc., 336

F.3d 375, 385 (5th Cir. 2003) (“[W]here allegations are based on information and belief,

the complaint must set forth a factual basis for such belief.”).

         In the absence of any detail regarding the purported international travel perks doled

out to “preferred physicians,” it is more plausible to conclude that physicians like Dr.

Lamelas were asked by BSLMC to help recruit patients to BSLMC because they have

impressive credentials, can speak intelligently about the hospital, and, in many cases, speak

foreign languages.



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         Relator also fails to consider that the trips described in the SAC were performed for

the benefit of BLSMC so it could educate foreign nationals and attract business to the ISD.

That BLSMC covered the expenses associated with physicians accompanying ISD staff on

trips abroad – as opposed to making the unreasonable and illogical request for the

physicians to pay their own travel costs – is wholly unremarkable because the trips were

designed to promote BSLMC.

         For these reasons, Relator’s assertions that the CHI Defendants “knowingly and

willfully” paid kickbacks for the improper purpose of inducing referrals are implausible.

Relator therefore fails to state a viable AKS-based FCA claim.

                2.     The SAC Fails to Allege the Particular Details of a False Claim or the
                       Specifics of a Scheme with Reliable Indicia of a False Claim.

         To state an AKS-based claim with particularity under Rule 9(b), Relator must allege

either the particular details of an actually submitted false claim or the specifics of a

kickback scheme paired with reliable indicia that a tainted claim was submitted. Grubbs,

565 F.3d at 190. As set forth below, Relator fails to satisfy either prong of the Grubbs

standard.

                       a.     The particular details of an actually submitted false claim

         Relator does not allege the details of a single false claim that was actually submitted

to a Federal health care program. Relator merely attempts to create the illusion of

specificity by providing the following “representative example” of a Medicare referral

from just one of nearly forty defendants in this case:

         Defendant Bone and Joint Clinic of Houston referred Medicare and Medicaid
         patients to the Hospital Defendants for care at BSLMC while receiving and

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         expecting to receive illegal remuneration from the ISD to induce referrals.
         One such referral by the Bone and Joint Clinic of Houston (through physician
         Dr. William Watters) was Medicare patient W.P., referred by Dr. Watters to
         Defendant CHI-St. Luke’s Health for pre-surgical testing on October 17,
         2015, and an orthopedic surgery on October 24, 2015 at BSLMC. The testing
         and surgery were both carried out on those dates, and because of patient
         W.P.’s status as a Medicare beneficiary, Relator has good reason to believe
         that the Hospital Defendants billed the testing and surgery to the government
         through the Medicare program and received payment from the government.

         Dkt. 273 ¶ 183. This representative example fails under Rule 9(b) because it does

not provide “the particular details of an actually submitted false claim” and stands in stark

contrast to the types allegations that have been held to pass muster by this Court and the

Fifth Circuit. Grubbs, 565 F.3d at 190.

         In Parikh, for example, the relator’s AKS-based FCA complaint — “[i]n exacting

detail comprising eleven pages”—included “28 examples of specific Medicare or Medicaid

patients that the [emergency room] physicians referred for treatment at the Chest Pain

Center.” Parikh, 977 F. Supp. 2d at 667. The type of “exacting detail” provided by Relator

in that case – including details about the specific care that was provided to each patient and

information about the submission of actual claims – is sorely lacking here, where Relator

merely alleges that a physician from Bone and Joint Clinic of Houston referred a patient to

CHI St. Luke’s (which, again, is a large health system and not a specific provider or

hospital) for pre-surgical testing of some sort, and then to BSLMC for “an orthopedic

surgery.” Dkt. 273 ¶ 183. Relator states that “he has good reason to believe” that CHI or

CHI St. Luke’s Health billed the testing and the surgery to a Government payor, which is

perplexing as BSLMC is a jointly-owned hospital with its own National Provider Identifier

that submits its own claims to Medicare. In any case, paragraph 183 clearly does not

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provide the “particular details of an actually submitted false claim,” which is necessary to

satisfy the first prong of the Grubbs standard.

                       b.     The details of a scheme, paired with reliable indicia that a false
                              claim was submitted

         The Fifth Circuit has said that “a relator’s complaint, if it cannot allege the details

of an actually submitted false claim – as is the case here – may nevertheless survive by

alleging the details of a scheme to submit false claims paired with reliable indicia that lead

to a strong inference that claims were actually submitted.” Patel, 312 F. Supp. 3d at 598,

citing Grubbs, 565 F.3d at 190.

         It is firmly established in this district that to allege the particular details of a

kickback scheme, the relator must clearly assert facts linking the purported remuneration

to the actual inducement of referrals. U.S. v. Abundant Life Therapeutic Servs. Texas, LLC,

No. CV H-18-773, 2019 WL 1930274, at *6 (S.D. Tex. Apr. 30, 2019) (“to allege

‘particular details of [the] scheme,’ [the relator] must assert facts linking the kickbacks to

the inducement of referrals.”); see also, Patel, 312 F. Supp. At 599 (“the improper

remuneration [must] clearly relate to the inducement of referrals.”). As the Court

previously explained, the holdings in Patel and Abundant Life are relevant to this case, as

they inform facts that are necessary to allege the particular details of a scheme.

         In Abundant Life, the relator alleged that his former employer, Abundant Life

Therapeutic Services Texas, LLC (“Abundant Life”), and its manager, Jon Ford (“Ford”),

violated the FCA, AKS, and TMFPA by paying kickbacks to officials at various

educational institutions to induce Medicaid referrals to Abundant Life. The relator alleged


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that Ford directed an independent contractor working with Abundant Life to provide “free

skills building services” to students at two elementary schools in the Houston area,

Blackshear Elementary and Rhodes Charter, and to refer the students to Abundant Life for

mental health services and assessments. The relator also alleged that Ford “gave $7,200 in

free items to Blackshear Elementary principle” and donated $20,000 worth of computers

to the principal at Rhodes Charter in order to induce referrals from the schools. Abundant

Life also allegedly entered into contracts with two school systems, Houston Independent

School District and Harmony Schools, that “included an offer [for Abundant Life] to

provide free skills building services . . . in exchange for Abundant Life billing Medicaid

for mental health services.”

         In Abundant Life, the Court held that while the relator had alleged a fair amount

about the purported kickback scheme, he did not “allege the details of the scheme with

particularity.” Abundant Life, 2019 WL 1930274, at *7 (emphasis added). The Court found

that a number of critical details were absent from the complaint. For instance, the Court

held that the complaint never alleged that that the Blackshear Elementary principal, the

person who purportedly received the donations, caused the school to refer students to

Abundant Life. Id. Even assuming Ford directed the donations to the principal of the

school, the Court said that “the second amended complaint fail[ed] to allege that [she] did

anything except receive the free items.” Id. at *8. The Court also held that the complaint

failed under Rule 9(b) because it did not provide “particularized allegations as to why Ford

thought the donations and the [free building services] would induce Blackshear Elementary

officials to refer students to Abundant Life.” Id. The Court held that the presentment claims

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as to Rhodes Charter also failed because the complaint did not allege that a donation of

computers or the free skilled building services ever “induced Rhodes Charter to refer

students to Abundant Life.” Id.

         Here, the SAC is similarly plagued by a lack of particularized detail linking the

purported remuneration to the inducement of referrals. First, the SAC does not allege with

particularity that the Defendant Physicians, the individuals and entities that allegedly

received the remuneration, referred patients or services to BSLMC. With the exception of

the ill-pled “representative example” of a referral from the Bone and Joint Clinic of

Houston, Relator does not allege with specificity that the Defendant Physicians ever

referred or caused patients to be referred to BSLMC. The SAC also fails to explain “how

and why [ISD] believed that remuneration would induce new business.” Abundant Life,

2019 WL 1930274 at *8, citing Ruscher, 2014 WL 2618158 at *10. For the reasons

expressed above, each form of purported remuneration alleged in the complaint is better

explained by a more plausible narrative of law-abiding, patient-focused intent.

         Similar to the Court’s holding in Abundant Life, the Patel court held that the relators

failed to tie the offer of rescission payments to the physician investors to the inducement

of referrals, noting that in cases that have been found to satisfy Rule 9(b), “the improper

remuneration clearly relate[d] to the inducement of referrals, making it plausible that the

defendants specifically intended to do something the law forbids.” Patel, 312 F. Supp. 3d

at 599, citing Waldmann v. Fulp, 259 F.Supp.3d 579 (S.D. Tex. 2016) (Crane, J.); Ruscher,

2014 WL 2618158 at *10; and Parikh, 977 F.Supp.2d 654.

IV.      Relator Fails to State a Stark Law Violation

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         The SAC’s Stark-based claims are also deficient under Rules 9(b) and 12(b) because

the SAC reveals that: (1) neither of the CHI Defendants are “entities” of the type regulated

under the Stark Law; (2) even if the CHI Defendants were “entities” for purposes of Stark,

there was not a prohibited direct or indirect “financial relationship” between the CHI

Defendants and specific individual physicians; and (3) no physician named as a defendant

in this case referred a patient to the CHI Defendants, much less a patient who received

“designated health services” that would be covered by Medicare.

         To demonstrate a Stark Law violation, Relator must show that a physician had a

“financial relationship” with an “entity” that provides and bills for “designated health

services” and that such physician made a “referral” to the entity for DHS covered in whole

or part by Medicare. Waldmann, 259 F. Supp. 3d 579 at 614 (citing 42 U.S.C. § 1395nn).

“The Stark law includes in its definition of a ‘financial relationship’ a ‘compensation

arrangement,’ which is, in turn, defined as ‘any arrangement involving any remuneration’

between the physician and the entity. Stark defines ‘remuneration’ as any kind of payment

‘directly or indirectly, overtly or covertly, in cash or in kind.’” Id. (citing 42 U.S.C. §§

1395nn(a)(2); 1395nn(h)(1)(A); 1395nn(h)(1)(B).) An “indirect” compensation relationship

only exists when the physician receives aggregate compensation that takes into account or

varies with the volume or value of referrals or other business generated for a regulated

“entity” and the entity knows of such compensation. 42 C.F.R. 411.354(c)(2)(ii) - (iii). A

financial relationship between a physician and an “entity” is prohibited only if the entity: (i)

has performed services referred by the physician that are billed as DHS; or (ii) has

presented a claim to Medicare for the DHS referred by the physician. 42 C.F.R. § 411.351.

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         As an initial matter, the SAC does not allege that either of the CHI Defendants

qualifies as an “entity,” as defined by Stark, because the Physician Defendants are alleged

only to have referred patients to BSLMC. Dkt. 273 at 42. CHI is a parent corporate entity

that neither provides healthcare services to patients nor bills for such services, while CHI

St. Luke’s is a health system comprised of several distinct hospitals, each of which is a

separate legal entity independently enrolled in Medicare. Relator has not (and cannot)

allege that CHI or CHI St. Luke’s performed or presented a claim to Medicare for any

DHS, let alone services referred by the Defendant Physicians and, therefore, neither CHI

Defendant can possibly constitute the kind of “entity” regulated under Stark. 42 C.F.R. §

411.351. Stark does not apply to relationships between physicians and entities other than

“DHS entities” regulated under the law.

         Even if the CHI Defendants were DHS entities (they are not), Relator fails to allege

any compensation arrangement (direct or indirect) between either CHI or CHI St. Luke’s

and a specific physician. See 42 C.F.R. § 411.354 (defining “direct” and “indirect”

compensation arrangements). The SAC fails to grasp a fundamental concept intrinsic to

the Stark Law; namely, that the prohibition against self-referrals generally applies to

physicians, not physician practices. 42 U.S.C. § 1395nn(a)(1). Relator fails to allege any

“direct” compensation arrangement with a physician or any indirect relationship flowing

through a practice that employs the referring physician.

         Finally, Relator does not identify a single physician who made a referral to the CHI

Defendants, much less a Stark–defined “referral” for any DHS. This is a fatal flaw in the

SAC, as the Stark Law “bars entities from submitting claims to federal health care programs

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if the services forming the basis of the claims were furnished pursuant to referrals from

physicians with which the entities had a financial relationship.” Parikh, 977 F. Supp. 2d at

663 (citing 42 U.S.C. § 1395nn(a)(1)). Relator’s Stark claim lacks virtually every element

required under the statute, and therefore it cannot serve as a predicate to the SAC’s alleged

FCA violations.

V.       RELATOR FAILS TO ESTABLISH A VIABLE REVERSE FALSE CLAIM

         To plead a reverse false claim, Relator must sufficiently allege that Defendants had

an obligation to repay the government at the time the false record was made or used; a

potential obligation to the government does not cross the threshold of a reverse false claims

violation. 31 U.S.C. § 3729(a)(1)(G); U.S. ex rel. Bain v. Georgia Gulf Corp., 386 F.3d

648, 657 (5th Cir. 2004). Relator does not support his derivative reverse false claim

allegations and instead merely parrots the statutory language of Section 3729(a)(1)(G).

The SAC therefore fails to state a claim for relief. Dkt. 273 ¶¶ 314–320; see Iqbal, 556

U.S. at 678.

         Relator also alleges that “by violating their record-keeping obligations and

undertakings such that the government would not discover Defendants’ violations, [all]

Defendants concealed from the government the fact that the government was entitled to

refunds and/or accommodations from Defendants.” Dkt. 273 ¶ 319. Relator does not

explain how Defendants violated amorphous and undefined “record-keeping obligations

and undertakings” and this bizarre assertion also does nothing to state a claim for relief

under Section 3729(a)(1)(G).

VI.      RELATOR FAILS TO ESTABLISH A VIABLE CONSPIRACY CLAIM

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         To state a conspiracy claim, Relator must allege that Defendants had an agreement,

combination, or conspiracy to defraud the government by getting a false claim allowed or

paid, and that they did so for the purpose of obtaining payment from the government.

Grubbs, 565 F.3d at 193. Relator fails to plead the facts to support a claim for conspiracy

and again offers a mechanical recitation of the elements of Section 3729(a)(1)(C). Without

more, Relator fails to state a viable conspiracy claim under Rule 12(b)(6). U.S. ex rel.

Dekort v. Integrated Coast Guard Sys., 705 F. Supp. 2d 519, 548 (N.D. Tex. 2010).

         To satisfy Rule 9(b), Relator must plead “who agreed with whom, how they agreed,

how they decided to file a false claim, who made the alleged misrepresentation, who filed

the allegedly false claim, the method by which it was filed, and how much the payment

was for.” U.S. ex rel. Walner v. NorthShore Univ. Healthsystem, 660 F. Supp. 2d 891, 895–

96 (N.D. Ill. 2009). Relator does not attempt to answer of these key questions. The SAC’s

conspiracy allegations also “fail on the independent ground that [it] cannot plead a

conspiracy to commit [a False Claims Act] violation without successfully alleging [a False

Claims Act] violation.” Abundant Life, 2019 WL 1930274, at *10 (internal citations

omitted).

VII.     RELATOR’S TMFCPA CLAIMS (COUNTS V-IX) SHOULD BE DISMISSED

         The FAC includes five counts based on alleged violations of the TMFPA. Counts

V-IX, ¶¶ 303-348. The TMFPA is modeled after and interpreted in similar fashion to the

FCA and, as such, Relator’s failure to state a claim under the FCA also constitutes a failure

to state a claim under the TMFPA. This argument holds true despite the Statement of

Interest (“SOI”) filed by the State of Texas. Dkt. 204. The CHI Defendants previously filed

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a response in opposition to Texas’ SOI and incorporate those arguments by reference here.

Dkt. 211.

         Relator’s FCA and TMFPA claims are both premised on alleged violations of the

AKS and Stark and, thus, Relator’s failure to sufficiently allege his AKS and Stark-based

claims are equally fatal to his TMFPA allegations for many of the same reasons discussed

above. Dkt. 211 at 4. In particular, Relator’s failure to sufficiently allege that the CHI

Defendants provided remuneration to the Defendant Physicians in exchange for federal

healthcare program referrals (with the required scienter) subjects all five TMFPA counts

to dismissal. Id. Relator’s failure to allege a predicate act violation of the AKS apply to his

TMFPA claims, and those too should be dismissed. Should the Court dismiss Relator’s

FCA claims for any reason, it should dismiss the pendent state-law claims and decline to

exercise supplemental jurisdiction. See Abundant Life, 2019 WL 1930274, at *10, citing

Parker & Parsley Petro. Co. v. Dresser Indus., 972 F.2d 580, 585 (5th Cir. 1992)

(“Generally, when all federal claims have been dismissed at an early stage, a district court

should dismiss any pendent state-law claims.”).

VIII. THE SAC SHOULD BE DISMISSED WITHOUT LEAVE TO AMMEND

         Relator has repeatedly failed to cure the SAC’s defects, despite having had “regular

access to scheduling, billing, and collection documents,” a blueprint outlining the defects

in the prior iterations of his complaint, and several years to gather facts to support his

allegations. Because of these repeated failures, the Court should exercise its discretion in

denying Relator’s Motion. See Price v. Pinnacle Brands, Inc., 138 F.3d 602, 608 (5th Cir.

1998); U.S. ex rel. Spicer v. Westbrook, 751 F.3d 354, 367–68 (5th Cir. 2014).

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         Relator’s continued failure to fix the SAC’s deficiencies demonstrates that any

further amendment would be futile and unduly prejudicial. Stripling v. Jordan Prod. Co.,

234 F.3d 863, 873 (5th Cir.2000). Nor should Relator be granted additional time or

discovery to cure his pleading defects, which would violate Rule 9(b)’s and the Court’s

gatekeeping function. The Court was afforded a test-case to assess the merits of moving

forward to discovery when it ordered the parties to engage in limited discovery regarding

seven contested passages in the SAC. At the conclusion of the limited-discovery process,

Relator voluntarily withdrew his claims. The Court should not expect that the remaining

allegations would fare any better if this case were permitted to move forward, and the SAC

should be dismissed once and for all, with prejudice.

                                     CONCLUSION

         Based on the foregoing reasons, the CHI Defendants respectfully request that this

Honorable Court dismiss with prejudice Relator’s SAC, as Relator has not (and cannot)

satisfy Federal Rules of Civil Procedure 9(b) and 12(b)(6).



 Dated: November 16, 2020                         Respectfully submitted,

                                                  POLSINELLI PC

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                           CERTIFICATE OF COMPLIANCE

         I hereby certify that this brief complies with the requirements set forth in Hon.

Charles R. Eskridge III’s Court Procedures. This motion contains 9,816 words, excluding

the case caption, table of contents, table of authorities, signature block, and certificates,

and was prepared in 13-point Times New Roman font.

                                            /s/ Brian F. McEvoy
                                           Attorney for CHI Defendants




                           CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for Defendants has conferred in good faith with Ruth

Brown, counsel for Relator, regarding the subject matter of this motion. Counsel for

Relator and counsel for CHI Defendants were unable to reach an agreement on whether the

Second Amended Complaint satisfies Federal Rules of Civil Procedure 12(b)(6) and 9(b),

warranting the foregoing Motion to Dismiss.


                                            /s/ Brian F. McEvoy
                                           Attorney for CHI Defendants




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 16th day of November, 2020, a true and correct copy of

the foregoing was electronically served on counsel for all parties properly registered to

receive notice via the Court’s CM/ECF system.


                                          /s/ Brian F. McEvoy
                                         Attorney for CHI Defendants
